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            UNITED STATES BANKRUPTCY APPELLATE PANEL
                       OF THE TENTH CIRCUIT



 IN RE:                                        BAP No. CO-20-003

 JULIO CESAR BARRERA,
 MARIA DE LA LUZ MORO

             Debtors.


 SIMON E. RODRIGUEZ,                           Bankr. No. 16-13216 EEB
 Chapter 7 Trustee,
                                               Adv. No. 18-01259 EEB
             Appellant,
                                               Chapter 7
       v.

 JULIO CESAR BARRERA and
 MARIA DE LA LUZ MORO,

             Appellees.


  NOTICE OF APPEAL TO UNITED STATES COURT OF APPEALS FOR
                    THE TENTH CIRCUIT

       Simon E. Rodriguez, chapter 7 trustee, the appellant, appeals to the United

 States Court of Appeals for the Tenth Circuit from the final judgment, order and

unpublished opinion of the United States Bankruptcy Appellate Panel for the Tenth

Circuit, entered in this case on October 2, 2020, affirming the United States

Bankruptcy Court for the District of Colorado’s Order Denying Motion for Turnover

of Sales Proceeds, entered in Adversary Proceeding No. 18-01259 EEB on January
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 13, 2020.

       The parties to the judgment, order and unpublished opinion appealed from and

 the names and addresses of their attorneys are as follows:

       Julio Barrera and Maria Moro are represented by:

       Erik B. Atzbach
       88 Inverness Circle East, Suite A-201
       Englewood, CO 80112
       (303) 885-8886

       Dated this 15th day of October, 2020.

                                 Respectfully submitted,

                                 WADSWORTH WARNER CONRARDY, P.C.

                                 /s/ David V. Wadsworth
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                                 Chapter 7 Trustee
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                         CERTIFICATE OF MAILING

       I do hereby certify that on this 15th day of October, 2020, a true and correct
copy of the above and foregoing NOTICE OF APPEAL TO UNITED STATES
COURT OF APPEALS FOR THE TENTH CIRCUIT was served by electronic
filing through the CM/ECF system where indicated, as well as by first-class U.S.
Mail, postage prepaid thereon, to those persons listed below:

Erik B. Atzbach
88 Inverness Circle East, Suite A-201
Englewood, CO 80112


                                /s/ Dorelia E. Tackett
                                For Wadsworth Garber Warner Conrardy, P.C.
